        Case 2:23-cv-03709-JMV-JRA Document 29 Filed 09/12/23 Page 1 of 1 PageID: 421
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of NewofJersey
                                                                     __________


                         Trutek Corp.                          )
                             Plaintiff                         )
                                v.                             )      Case No.     2:23-cv-03709-JMV-JRA
         Yeong Wan Cho (aka Peter Cho), et al.                 )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, Trutek Corp.                                                                                      .


Date:          09/12/2023                                                                 /s/ Keith Altman
                                                                                         Attorney’s signature


                                                                                     Keith Altman, pro hac vice
                                                                                     Printed name and bar number
                                                                                  The Law Office of Keith Altman
                                                                                 33228 W. 12 Mile Road, Ste. 375
                                                                                    Farmington Hills, MI 48334

                                                                                               Address

                                                                                   keithaltman@kaltmanlaw.com
                                                                                            E-mail address

                                                                                          (248) 987-8929
                                                                                          Telephone number



                                                                                             FAX number
